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                                UNITED STATES BANKRUPTCY COURT
                                     DISTRICT OF NEW JERSEY

     In re:                                                          Chapter 11

     LTL MANAGEMENT LLC,1                                            Case No. 21-30589 (MBK)

                      Debtor.                                        Ref. Docket Nos. 2478, 2490, 2494, &
                                                                     2495

                                         AFFIDAVIT OF SERVICE

 STATE OF NEW YORK  )
                    ) ss.:
 COUNTY OF NEW YORK )

 DIANE STREANY, being duly sworn, deposes and says:

 1. I am employed as a Senior Case Manager by Epiq Corporate Restructuring, LLC, located at
    777 Third Avenue, New York, New York 10017. I am over the age of eighteen years and am
    not a party to the above-captioned action.

 2. I caused to be served the:

       a.     “Declaration of Ordinary Course Professional,” dated June 11, 2022 [Docket No. 2478],
              (the “OCP Declaration”),

       b.     “Modified Local Form Certification of No Objection Regarding Monthly Fee Statement
              of Wollmuth Maher & Deutsch LLP for the Period of April 1, 2022 Through April 30,
              2022,” dated June 13, 2022 [Docket No. 2490], (the “CNO Wollmuth”),

       c.     “Notice of Amended Agenda of Matters Scheduled for Hearing on June 14, 2022 at 10:00
              a.m.,” dated June 13, 2022 [Docket No. 2494], (the “Amended Agenda”), and

       d.     “Modified Local Form Certification of No Objection Regarding Monthly Fee Statement
              of Skadden, Arps, Slate, Meagher & Flom LLP for the Period of April 1, 2022 Through
              April 30, 2022,” dated June 13, 2022 [Docket No. 2495], (the “CNO Skadden”),

 by causing true and correct copies of the:

            i. OCP Declaration to be delivered via electronic mail to those parties listed on the
               annexed Exhibit A, on June 11, 2022,


 1
  The last four digits of the Debtor’s taxpayer identification number are 6622. The Debtor’s address is 501 George
 Street, New Brunswick, New Jersey 08933.
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      ii. OCP Declaration, CNO Wollmuth, Amended Agenda, and CNO Skadden to be
          enclosed securely in separate postage pre-paid envelopes and delivered via first class
          mail to those parties listed on the annexed Exhibit B, on June 13, 2022,

     iii. CNO Wollmuth and CNO Skadden to be enclosed securely in separate postage pre-paid
          envelopes and delivered via first class mail to those parties listed on the annexed
          Exhibit C, on June 13, 2022,

     iv. CNO Wollmuth, Amended Agenda, and CNO Skadden to be delivered via electronic
         mail to those parties listed on the annexed Exhibit A, on June 13, 2022, and

      v. CNO Wollmuth and CNO Skadden to be delivered via electronic mail to those parties
         listed on the annexed Exhibit D, on June 13, 2022.

 3. All envelopes utilized in the service of the foregoing contained the following legend:
    “LEGAL DOCUMENTS ENCLOSED. PLEASE DIRECT TO THE ATTENTION OF
    ADDRESSEE, PRESIDENT, OR LEGAL DEPARTMENT.”

                                                                   /s/ Diane Streany
                                                                   Diane Streany

  Sworn to before me this
  14th day of June, 2022
  /s/ Panagiota Manatakis
  Notary Public, State of New York
  No. 01MA6221096
  Qualified in Queens County
  Commission Expires April 26, 2026
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                                EXHIBIT A
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                                EXHIBIT B
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                                                           List
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DRISCOLL FIRM, LLC                       ATTN JOHN DRISCOLL 211 NORTH BROADWAY, 40TH FL ST LOUIS MO 63102
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Claim Name                               Address Information
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KENNEDYS CMK LLP                         (COUNSEL TO TIG INSURANCE CO & EVEREST REINSURANCE CO) ATTN: HEATHER E.
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Claim Name                            Address Information
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WHITE & CASE LLP                         RICARDO PASIANOTTO 1221 AVENUE OF THE AMERICAS NEW YORK NY 10020-1095
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                                 Total Creditor count 150




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                                             LTL MANAGEMENT LLC
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Claim Name                             Address Information
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                                EXHIBIT D
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